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                       IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OKLAHOMA

In re:                                        )
                                              )
JOSEPH DEWAYNE CUDE and                       )
SARAH ANN CUDE,                               )
                                              ) Case No. 23-10625-M
               Debtors.                       ) (Chapter 7)


JOSEPH DEWAYNE CUDE and                       )
SARAH ANN CUDE,                               )
                                              )
               Plaintiffs,                    )
                                              )
vs.                                           ) Adversary No. 23-01016-M
                                              )
HIGHER EDUCATION LOAN                         )
AUTHORITY OF THE STATE OF                     )
MISSOURI, a/k/a MOHELA, et al.,               )
                                              )
               Defendants,                    )
                                              )
And,                                          )
                                              )
EDUCATIONAL CREDIT                            )
MANAGEMENT CORPORATION,                       )
                                              )
               Intervenor.                    )

                       ECMC’s STIPULATION OF DISCHARGEABILITY

         Intervenor, Educational Credit Management Corporation, a non-profit Minnesota

corporation (“ECMC”), by and through its counsel, hereby stipulates that requiring the Debtors and

Plaintiffs herein, Joseph Dewayne Cude and Sarah Ann Cude, to repay their respective outstanding

education loan claims held by ECMC (the “ECMC Student Loans”), as more particularly identified

and described in ECMC’s answer herein, would constitute an undue hardship, as that term is used in

11 U.S.C.§523(a)(8).


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       Accordingly, ECMC consents to the entry of an Order finding the ECMC Student Loans

should be discharged as part of the general discharge in bankruptcy previously granted to such

Debtors and Plaintiffs herein pursuant to 11 U.S.C. §523(a)(8).

       This stipulation resolves all outstanding issues before the Court in to this adversary

proceeding only as to the education loan claims of ECMC and the Court’s resulting order will be

dispositive of the education loan claims of ECMC .



                                              s/     Mac D. Finlayson
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                                              EDUCATIONAL                CREDIT   MANAGEMENT
                                              CORPORATION




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                                CERTIFICATE OF SERVICE

       The undersigned certifies on the date signified by the Notice of Electronic Filing
accompanying this pleading he served the following persons utilizing this Court’s CM/ECF
protocols, as follows:

Ron D. Brown, Esq.
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Attorney for Defendant, U.S.\
Dept. of Education.


                                              s/    Mac D. Finlayson
                                              Mac D. Finlayson, OBA #2921




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